4:09-cr-03069-RGK-CRZ         Doc # 131      Filed: 07/09/10    Page 1 of 1 - Page ID # 360




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                   4:09CR3069
                                             )
              V.                             )
                                             )
KELVIN L. STINSON,                           )                      ORDER
                                             )
                     Defendant.              )
                                             )


        I am in receipt of the defendant’s motion to continue in this matter. While I will deny
the motion for continuance, if it turns out that the defendant’s drug quantity would result in
a lesser statutory minimum sentence if Senate Bill 1789 were passed, I will consider whether
to stay sentencing after the evidentiary issues are resolved.

       IT IS THEREFORE ORDERED that the defendant’s motion to continue (filing 130)
is denied.

       DATED this 9th day of July, 2010.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           United States District Judge
